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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

KASIM KURD et. al.                             )
                                               )
plaintiffs                                     )
                                               )
v.                                             )       Civil Action No. 1:18-cv-1117-CKK
                                               )
REPUBLIC OF TURKEY et. al.                     )
                                               )
defendants.                                    )

                  REPLY MEMORANDUM – MUTLU CIVIROGLU

        COMES NOW, Mutlu Civiroglu, through his attorney, and files his Reply Memorandum to

the Opposition to Motion to Quash filed by counsel for defendant Eyup Yildririm.

        Mutlu Civiroglu was not represented by counsel prior to the filing of the Motion to Quash and

none of the plaintiff counsels have represented Mutlu Civiroglu in this case prior to filing his Motion

to Quash.

        In the opposition to the motion to quash, counsel states on page 2 “Yildirim is not looking for

any information from Civiroglu while he was acting in the scope of his employment while he was

gathering information.” However, the memorandum does not provide any facts to show the

overriding public interest in the disclosure of Mr. Civiroglu’s communications on social media

platforms through deposition or subpoena. Defendant Yildirim does not satisfy the three required

elements under DC Code Ann §16-4703 that permit a court to compel disclosure under D.C. Code

Ann §16-4702.

        The type of information defendant seeks through his subpoenas can easily be obtained

directly from the plaintiffs. On page 6 of counsel’s opposition memorandum states “the information

is relevant to a significant legal issue, such as how Plaintiffs came to sue the Defendants, how

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plaintiffs presented their case and their recollection of the events on May 16, 2017, and how badly

injured the Plaintiffs were.” Defendant Yildirim can obtain all the information on plaintiff’s

recollection of events, their injuries and how plaintiffs present their case from the plaintiffs.

Defendant Yildirim already knows how and why the plaintiffs came to sue him for their injuries by

reading the pleadings in this case.

         D.C. Code Ann §16-4702 prohibits compelling disclosures from any person who is or has

been employed by the news media in a news gathering or news disseminating capacity unless as

provided in §16-4703. The District of Columbia's Free Flow of Information Act D.C. Code Ann

§16-4701 et. seq. protects the compelled disclosure of privileged information through a document

subpoena. In Grunseth v. Marriott Corp, 868 F. Supp. 333 (D.D.C. 1994) the court held that D.C.

Code Ann §16-4702 provides an absolute prohibition against compelling testimony regarding (1) the

source of any news or information procured by the person while employed by the news media and

acting in an official news gathering capacity, whether or not the source has been promised

confidentiality; or (2) any news or information procured by the person while employed by the news

media in the course of pursuing professional activities that is not itself communicated in the news

media.

         Mr. Civiroglu’s communications on social media related the events in this case are privileged

and protected under the U.S. Constitution and D.C. Code Ann. §16-4702. When interpreting a statute

that protects privileged information, the court will consider “its legislative purpose, the ends to be

accomplished, or the evils to be remedied by the statutory provision under “scrutiny” because the

goal is to advance its purpose, not to frustrate it.”

Kathleen Anderson, et al. v. Evan Hammerman, et al., (MD Court of Appeals) No. 1254, Sept. Term,

                                                                                                    2
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2023. Opinion by Chief Judge Wells. (November 6, 2024).

       Wherefore, based on the statutory and case authorities cited and arguments contained in

counsel’s Motion to Quash and Reply Memorandum, Mr. Civiroglu requests his motion to quash the

Witness and Document Subpoenas be granted.


                              Respectfully submitted,

                              MUTLU CIVIROGLU
                              By Counsel


   /s/ Jacob D. Bournazian
JACOB D. BOURNAZIAN Bar No. 403552
Counsel for MUTLU CIVIROGLU
1425 4th Street SW #A808
Washington, DC 20024
(202) 554 – 4978



                              CERTIFICATE OF SERVICE

        On November 8, 2024, I caused a copy of the Reply Memorandum to the Opposition to
Mutlu Civiroglu’s Motion to Quash to be served on all counsel of record via the Court’s electronic
system.

                                            /s/ Jacob D. Bournazian
                                     Jacob D. Bournazian, Esq.




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